                                                                                   027,21*5$17('
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                                                                                   :HGQHVGD\6HSW
                        IN THE UNITED STATES DISTRICT COURT                        DWDP
                       FOR THE MIDDLE DISTRICT OF TENNESSEE                        
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )
       v.                                     )              No. 15-00147
                                              )              CHIEF JUDGE SHARP
                                              )
ERNEST EDDIE                                  )

                 UNITED STATES’ MOTION TO ADVANCE PLEA DATE

       Comes now the United States, with the consent of the defense, and requests the date for

entry of plea be advanced from October 19, 2015 at 9:30 a.m., to any time on September 29th, 2015

or anytime before noon on September 30, 2015. The parties have reached an agreement in this

case, and believe it would be appropriate to have the plea entered pursuant to that agreement before

the currently scheduled date.

                                                      Respectfully submitted,

                                                      DAVID RIVERA
                                                      United States Attorney

                                                      /s/ Sunny A. M. Koshy
                                                      SUNNY A. M. KOSHY
                                                      Assistant United States Attorney
                                                      110 Ninth Avenue South, Suite A96l
                                                      Nashville, Tennessee 37203
                                                      (615) 736-5151


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served via the district
court=s CM/ECF system on John Cauley, Counsel for Defendant Eddie, on this 14th day of
September, 2015.


                                                      /s/ Sunny A. M. Koshy



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